         Case 8:06-cr-00441-JSM-J_S Document 124 Filed 06/22/07 Page 1 of 6 PageID 271
A 0 245B (Rev 06105) Sheet 1 -Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  IMIDDLE DISTRICT OF FLORIDA
                                                        TAMPA DIVISION



UNITED STATES OF AMERlCA                                       JUDGMENT IN A CRIMINAL CASE
                                                               CASE NUMBER         8 06-cr-441-T-30MSS
                                                               USM NUMBER.         49040-018



CRISTINO ALVAREZ-BONICHE
                                                               Defendant's Attorney: Bruce Howe, cja.

THE DEFENDANT:

 X pleaded guilty to count(s) TWO of the Indictment.
- leaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                            OFFENSE ENDED

46 U.S.C. $5 70503(a) and           Aiding and Abetting to Possess with Intent October 14,2006                        Two
70506(a) and (%), and 21 U.S.C,     to Distribute 5 Kilograms or More of
5 960(b)(l)CB)(ii)                  Cocaine


        The defendant is sentenced as pronded mpages 2 through 6 of tlus judgment. The sentence is imposed pursuant to the Sentencmg
Reform Act of 1984

- The defendant has been found not gullty on count(s)
-
X Count(s) ONE of the I d c t m e n t is dnmssed on the motlon of the Umted States

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are filly paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Date of Impos~tlonof Sentence. June 19,2007




                                                                                  DATE: June-
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A 0 345B (Rev 06'05) Sheet 3 - Imprisonment (Judgment in a Criminal Casc)
Defendant:          CRISTINO ALVAREZ-BONICHE                                                                    Judgment - Page 2of' 6
Case So.:           S:06-cr-44 1 -T-30MSS




          After considering tlie arlvisory sentenci~igguitleliries and all of the factors identified in Title 18 I1.S.C. $5
3553(a)(l)-(7), the coort finds that the sentence imposed is sufficient, but not greater tlian necessary. to comply with
t h e statutory purposes of sentencing.


          Tlie defendant is hereby conimitted to tile custody of the 1-liited States Bureau of Prisons to be imprisoned for
tl total term of ']TWO HUNDRED mid TIIIRTY-FIVE (235) NIONTI-IS as to Count Two of the Intlictrne~it.




X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FC'I Miami (FL),
if possible.



-
X The defendant is remanded to the custody ofthc United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

          - at - a.n~./p.m.on -.
          - as notified by the Unitcd Stares Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          - before 2 p.m. on -.
          - as noti tied by the United States h4arshal.
          - as notified by the Prob:ition or Pretrial Services Office.




          I have executed this judgment as follows:




          Defendant delivered 011                                                  to
- at                                                                     ,   with a certified copy of this judgment.


                                                                                        United Stales Marshal

                                                                             By:
                                                                                                D e p ~ ~United
                                                                                                         ty     States Marshal
         Case 8:06-cr-00441-JSM-J_S Document 124 Filed 06/22/07 Page 3 of 6 PageID 273
A 0 245B (Rev. 06/05) Shcct 3 - Supemiscd Rclcase (Judgnlcnt in a Criminal Case)

Defendan!:           CRISTINO ALVAREZ-DONICHE                                                                       Judgment - Page -7 01'
                                                                                                                                         6
Case No.:            8:06-cr-41 1 -T-30MSS
                                                            SUPERVISED RELEASE

         U p o n release f r o m imprisonment, t h e d e f e r l d a r ~ shall
                                                                         t     be o n supervised release f o r a t e r m of FIVE (5) YEARS as to C o u n t
Two o f t h e Indictment.

         T h e defendant must report t o the probation office in the district to \vhich the defendant is released \tithin 72 hours o f rslcasc from
the custody o f the Bureau o f Prisons.

T h e defendant shall not commit another federal: state. o r local clime. T h e defendant shall not unlatvfully posscss a controlled substance.
T h e defendant shall refrain from any unlawful use o f a controlled substance. T h e defendant shall s u b n i t to one drug test within I S days
o f release f r o m imprisonment and at least t\vo periodic drug tests thereafter. as determined b y the court.

          T h e defendant shall not possess a firearm, destructive device, o r any other dangerous weapon.

          T h e defendant shall cooperate in the collection o f DNA as directed by the probation officer.

             If t l i s judgment imposes a fine o r restitution it is a condition o f s u p e n i s e d release that the defendant pay in accordance u it11 the
             Schedule o f Payments sheet o f this judgment.

             T h e defendant must comply with the standard conditions that have been adopted b y this court a s well as with an): additional
             conditions o n the attached page.

                                              STAI\;D,IIRD COPIDITIONS OF SUPERVISION
             the defendan1 shall not leave the judicial district without the permission of the court or- probation officer;

             the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
             month;

             the defendant shall :Insncr truthf~~lly
                                                  rill inquiries by thc probat~onofficcr and I-olluw the instructions of the probation ofticer:


             the defendant shall support his or hcr dcpendents and mcct other family r.csponsibilirics;

             the defendant shall work regularly at a lawful occupa~ion,unlcss excused by the probation officcr for school~ng,tra~nins,or other
             acceptable rcasons;

             the defendant shall noti@ the prohalion officer at least tcn days prior to any change in rcsidcncc or cmploynicnt;

             the defendant shall refrain from exccssivc use of alcohol and shall not purchase, posscss, use, distribute, or administer any controlled
             substancc or any paraphernalia rclr~tcdto any controlled substances: except as prcscribcd by a physician;

             the defendant shall not frequent places \vliere controlled substances arc ~llegallysold, used, dlstrlbuted, or dni1111stered;

             the dcfcndant shall not associate with any persons cngngcd in criminal activity and shall no1 associate ~vitlim y pcrson convicted of a
             fclony, unless granted permission to do so by thc probation officer;

             the defendant shall perniit a probation officer to visit hini or hcr at any time at home or elscw'here and shall permit confiscation ol'my
             contraband obscrved in plain view of the probation officer:

             the dcfcndmt sliall notify the proba~ion ot3cer within scventy-two hours of being ~irresledor quest~oneclby a Ian cnforcemcnt officer;

             the defendan1 shall no[ enter into any agreement to act as an informer or a speclal agent of lt law enforce men^ .iScncy without thc
             permission ofthe court; and

             as directed by the probation officer, thc defendant shall notify third parties of risks that may be occasioned by the defendant's cr~niinalrecord
             or personal history or characteristics and shall perniit thc probation officcr to tnalte such notifications and lo confirm the dcfcndant's
             compliancc wilh such notification requirement.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:         CRISTIhO ALVAREZ-BONCHE                                                            Judgment - 1'agc 4 of 6
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                                        SPECIAL COI\;DITIONS OF SC-PERVISIOS

         The defendant shall also comply with the following additional conditions of supcrvised release:


         The defendant shall participate in a substance abuse program (outpalient and/or inpatient) a~rdfollow te probation officer's
         instn~ctionsregarding the inlplementation of this court directive. Further, the defendant shall be required to contribute to the
         costs of sewices for such treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for
         Subsrancr Abuse 'Treatment Sesviccs. Durins and upon completion o f this prop-anl, the dcfcndant is directed to submit t o
         random drug testing.

         If the defendant is deported, heishe shall not be allowed to re-enter the United States without the exprcss pernliss~onof the
         appropriate govesnme~ltalauthority.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         The mandatory dnig testing provisions shall apply pt~rsuantto the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
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A 0 245B (Rev 06:'OF) Sheet 5 - Criminal Monetary Penalties (Judgnient in a Criminal Case)

Defendant :         CRISTINO ALVA REZ-BONICHE                                                Judgmcnt - Page 5        of   6
Case No.:           8:06-cr-44 1-T-30M SS

                                           CRINIIN_4LMONETARY PENALTIES

          The defendant im~stpay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                             Fine                     Total Restitution

          Totals:            S100.00                               Waived                    N/A


-         The determination of restitution is deferred until         .       An Art~edm'Jlrdgrnerit ir~a Crinliml Case ( A 0 2432) will
          be entered after such dete~~nination.

-         The defendant must make restitution (including conmunity restitution) to the follow-ing payees in the amount listed
          below.
          If' the defendant makes a partial payment, each payee shall receive an approximately proportioned pqment, unless
          specified otherwise in the priority order or percentage payment colunln below. However, pursuant to I8 U.S.C. 5
          3664(i), all non-federal victims must be pald before the United States.


 Name of Pavee                                  Total Loss*                  Restitution Ordered                Prioritv or Percentage




                             Totals:                                         $


 -        Restitution anlount ordered pursuant to plea agreement S
 -        The defendant rnust pay interest on a fine 01. restitution of more than $2,500, unless the restitution or fine is paid in full
          before the i'iteenth day after the date of the judgment. pursuant to 18 U.S.C. 9 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default. pursuant to 18 U.S.C. $ 3612(g).

 -        The court dstermined that the defendant does not have the ability to pay intcrcst and it is ordered that:
         -          the interest requirement is waived for the - fine - restitution.
         -          the intercst requirement for the - fine - restitution is rnodilietl as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 I OA, and 1 13.4 of Title 1 Y for the offi'nscs comn~tted
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05} Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)
                                     -    -



Defendant:         CRlSTII\IO ALVAREZ-BONICHE                                                   Judgment - Page 6of 6
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                                                    SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

A.         X       Lump sum payment of $ 100.00 due immediately, balance due
                             -not later than                  . or
                             -in accordance - C, - D, -                  E or - F below: or
B.       -                                              l y be combined with -C, -D. or -F below): or
                   Payment to begin i ~ ~ m e d i a t e (may
                   Payment in equal          (e.g.. weekly, monthly. quarterly) installlncnts o f $         over a pcriod
                   of -(e.g.. months or years), to commence            days  (e.g., 30  or 60 days) after the date ol'this
                   judgment: or
D.       -         Payment in equal              ( e g . weekly. monthly. quarterly) installments of $           over- a period of
                               . (e.g.. n~onthsor years) to comrnence                     (e.g. 30 or 60 days) after release from
                   impriso~~mcnt  to a term of supervision: or
E.       -         Paj.rnent during the term of supervised release will commence within               (e.g., 30 or 60 days)
                   after release from impriso~ment.The court will set the payment plan based on an assessment ol'the
                   defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetaly penalties:




Unless the court has expressly ordered otherwise. if this judgment imposes imprisonment. payment of csiminal monetary
penalties is due during ~mprisonment. All criminal monetary penalties. c ~ c c p those
                                                                                 t     paymclits made through the I-cder-a1
Bureau of Prisons' Inmate Financial Responsibility Program. are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal mo11eta1-ypenalties imposed.

-         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount. and corresponding payee, if appropriate:


-         The defendant shall pay the cost of prosecution.

-         The defendant shall pay the following court cost(s):

-         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States itnmediately and voluntarily any and all assets and
property. or portions thereof, subject to forfeih~re,which are in the possession or control of the defendant or the defendant's
no~ninees.
Payments shall be applied in the following order: ( I ) assessment. (2) restitution principal, (3) restirution interest, (4) fine principal. ( 5 )
fine interest. (6) conmunity sestitution. (7) penalties, and (8) costs. including cost of prosecution and court costs.
